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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

UNITED STATES OF AMERICA

v.                                     No. 4:18CR00334 JM

CHRISTOPHER WILKS

                         PRELIMINARY ORDER OF FORFEITURE

       IT IS HEREBY ORDERED THAT:

       1.      As the result of the November 18, 2020, guilty plea of Christopher Wilks

(“Defendant”), Defendant shall forfeit to the United States, under 18 U.S.C. § 924(d), 21 U.S.C §

853, and 28 U.S.C. § 2461(c), the following property:

               A.      One Glock 22 .40 caliber pistol, bearing serial number BVV011;

               B.      One Smith and Wesson M&P 15 .223 caliber rifle, bearing serial number

                       SU11985;

               C.      One Ruger Mini 14 .223 rifle, bearing serial number 18605640; and

               D.      Ammunition.

(collectively “property subject to forfeiture”).

       2.      Upon the entry of this Order, the United States Attorney General or a designee

(collectively “Attorney General”) is authorized to seize the above-listed property and to conduct

any discovery proper in identifying, locating, or disposing of the property subject to forfeiture.

Fed. R. Crim. P. 32.2(b)(3). Further, the Attorney General is authorized to commence any

applicable proceeding to comply with statutes governing third party rights.

       3.      The United States shall publish, in such a manner as the Attorney General may
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direct, notice of this Order and the United States’ intent to dispose of the property subject to

forfeiture. The United States may also, to the extent practicable, provide written notice to any

person known to have an alleged interest in the property subject to forfeiture.

        4.      Any person, other than Defendant, asserting a legal interest in the property subject

to forfeiture may petition the Court for a hearing without a jury to adjudicate the validity of his or

her alleged interest in the property and for an amendment of this Order. See 21 U.S.C. § 853(n)(2);

28 U.S.C. § 2461(c). This petition must be filed within 30 days of the final publication of notice

or receipt of notice, whichever is earlier. 21 U.S.C. § 853(n)(2).

        5.      This Preliminary Order of Forfeiture shall become final as to Defendant at the time

of sentencing and shall be made part of the sentence and included in the judgment. Fed. R. Crim

P. 32.2(b)(4)(A). If no third party files a timely claim, this Order shall become the Final Order of

Forfeiture. Fed. R. Crim. P. 32.2(c)(2).

        6.      Any petition filed by a third party asserting an interest in the property subject to

forfeiture shall be signed by the petitioner under penalty of perjury and shall set forth the nature

and extent of the petitioner’s right, title, or interest in the property subject to forfeiture, the time

and circumstances of the petitioner’s acquisition of the right, title or interest in the property subject

to forfeiture, any additional facts supporting the petitioner’s claim and the relief sought.

        7.      After the disposition of any motion filed under Federal Rule of Criminal Procedure

32.2(c)(1)(A) and before a hearing on the petition, discovery may be conducted in accordance with

the Federal Rules of Civil Procedure upon a showing that such discovery is necessary or desirable

to resolve factual issues.

        8.      The United States shall have clear title to the property subject to forfeiture
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following the Court’s disposition of all third-party interests, or, if none, following the expiration

of the period provided for the filing of third party petitions.

       9.      The Court shall retain jurisdiction to enforce this Order and to amend it as

necessary. See Fed. R. Crim. P. 32.2(e).

       SO ORDERED this 14th day of May, 2021.




                                                   HONORABLE JAMES M. MOODY, JR.
                                                   United States District Judge
